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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                      )
                                               )
v.                                             )
                                               )       Crim. No. 17-201-1 (ABJ)
PAUL J. MANAFORT, JR.,                         )
                                               )
               Defendant.                      )


      DEFENDANT PAUL J. MANAFORT, JR.’S REPLY MEMORANDUM TO THE
     GOVERNMENT’S OPPOSITION TO MOTION TO MODIFY CONDITIONS OF
     RELEASE AND RESPONSE TO MINUTE ORDER DATED DECEMBER 5, 2017

        Paul J. Manafort, Jr., by and through counsel, hereby submits this memorandum

in reply both to the Government’s opposition to the motion to modify his conditions of

release (ECF #73) and to the Minute Order dated December 5, 2017, requiring that he

show cause why he has not violated the Court’s Order dated November 8, 2017 (“Order”)

(ECF #38). Although	the	Office	of	Special	Counsel	consented	to	the	substantial	bail	

package	 submitted	 on	 November	 30,	 2017,	 the	 Government	 now	 backs	 out	 of	 its	

agreement	because	of	Mr.	Manafort’s	alleged	intention	to	violate	or	circumvent	the	

Court’s	 Order.	 	 See	 Opposition	 (ECF	 #73)	 at	 3	 (emphasis	 supplied).	 	 The	 Office	 of	

Special	 Counsel	 misreads	 the	 breadth	 of	 the	 Order,	 and	 more	 importantly,	 ignores	

the	controlling	case	law	cited	by	the	Court	therein.		There	has	been	no	violation	of	

the	 Order	 and	 no	 basis	 for	 the	 Government’s	 withdrawal	 of	 its	 consent	 to	 the	

modified	 bail	 package.	 Moreover,	 the	 Government’s	 interpretation	 would	

unconstitutionally	vitiate	Mr.	Manafort’s	rights	to	defend	himself	and	his	reputation,	

and	to	correct	the	public	record.	



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        The	 Office	 of	 Special	 Counsel	 claims	 that	 Mr.	 Manafort	 violated	 the	 Order	

when	 he	 edited	 a	 draft	 op-ed,	 authored	 by	 a	 Ukrainian	 national,	 to	 ensure	 its	

accuracy.		The	Order	instructed	“all	interested	participants	in	the	matter,	including	

parties,	 potential	 witnesses,	 and	 counsel	 for	 the	 parties	 and	 the	 witnesses,	 .	 .	 .	 to	

refrain	 from	 making	 statements	 to	 the	 media	 or	 in	 public	 settings	 that	 pose	 a	

substantial	 likelihood	 of	 material	 prejudice	 to	 this	 case.”	 	 Order	 at	 2.	 	 The	 defense	

did	 not,	 and	 does	 not,	 understand	 that	 the	 Court	 meant	 to	 impose	 a	 gag	 order		

precluding	Mr.	Manafort	from	addressing	matters,	which	do	not	“pose	a	substantial	

likelihood	 of	 material	 prejudice	 to	 this	 case.”	 The	 op-ed	 was	 to	 appear	 in	 a	

newspaper	published,	not	in	the	United	States,	but	in	Kiev,	Ukraine.		As	the	Supreme	

Court	noted	in	the	case	cited	in	the	Order,	“[t]he	‘substantial	likelihood’	test	.	.	.	was	

designed	to	protect	the	integrity	and	fairness	of	a	.	.	.	judicial	system,	and	it	imposes	

only	narrow	and	necessary	limitations	on	.	.	.	speech.”		 Gentile v. State Bar of Nevada,

501 U.S. 1030, 1075 (1991).	

        The	Special	Counsel’s	Opposition	—	devoid	as	it	is	of	both	legal	analysis	and	

legal	precedents	—	claims	that	Mr.	Manafort	has	engaged	in	wrongdoing	when	all	he	

has	tried	to	do	is	to	correct	the	public	record	in	Ukraine	concerning	his	consulting	

activities	 in	 Ukraine.	 	 	 The	 draft	 op-ed	 was	 authored	 by	 Oleg	 Voloshyn,	 a	 former	

spokesperson	for	the	Ministry	of	Foreign	Affairs	of	Ukraine.		It	was	intended	to	be,	

and	has	been,	published	in	a	Ukrainian	newspaper,	the	Kyviv	Post.		There	is	nothing	

in	the	draft	op-ed	that	would	“pose	a	substantial	material	likelihood	of	prejudice	to	

this	case.”		




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       More specifically, in the Order, the parties, “in particular, counsel for both sides,”

are directed to the U.S. Supreme Court’s holding in Gentile, and instructed “to refrain

from making statements to the media or in public settings that pose a substantial

likelihood of material prejudice to this case.” See Order at 1-2. In Gentile, an attorney –

held a press conference the day after his client was indicted (and six months before the

actual trial). At the press conference, the lawyer contended generally that the evidence

demonstrated his client’s innocence, that the likely culprit of the crime was a police

detective, and that other victims were not credible witnesses. Id. at 1059-1060. The state

bar argued that the attorney had violated a disciplinary rule that prohibited him from

making extrajudicial statements that he knew would have a substantial likelihood of

materially prejudicing the proceeding. Id. at 1033. The State Supreme Court upheld the

disciplinary board’s finding, but the U.S. Supreme Court reversed the judgment. Id. at

1033, 1058.

       The high court’s analysis stands in stark contrast to the Office of Special

Counsel’s position. In Gentile, Justice Kennedy noted that “[n]either the disciplinary

board nor the reviewing court explain any sense in which petitioner’s statements has a

substantial likelihood of causing material prejudice.” Id. at 1038 (Kennedy, J., joined by

Justices Marshall, Blackmun, and Stevens, concurring). Here, too, the Office of Special

Counsel makes no attempt to explain how the op-ed has a substantial likelihood of

materially prejudicing the trial of this case. Rather, it ignores Gentile (and the specific

wording of the Court’s Order) and creates its own new standard that even if the op-ed

were entirely accurate, fair, and balanced, it would be a violation of this Court’s Order if

the op-ed had been published. (See ECF #73 at 2). Under the Special Counsel’s view, if



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one makes a statement to influence the public’s opinion, that is a violation of the Court’s

Order. There is no plausible reading of Gentile or of the Order that supports this

conclusion.

       The Order only requires that the parties refrain from making public statements

that “pose a substantial likelihood of material prejudice to this case.” (See ECF #38 at 2).

The Special Counsel’s standard would lead to the constitutionally untenable conclusion

that a defendant is not even allowed to maintain his or her innocence when such an order

is entered because, by doing so, that statement might influence the public’s opinion. In

the Special Counsel’s view, Mr. Manafort is apparently never allowed to set the factual

record straight once an order under Local Criminal Rule 57.7(c) is entered, nor is he

allowed to openly maintain his innocence. He must simply remain silent while his

reputation is battered, and potential jurors in this District might be tainted. Fortunately,

the fundamental right of freedom of speech is not abrogated because a U.S. citizen is

charged with a crime. Indeed, in the opinion of at least four Justices of the Supreme

Court, even “an attorney may take reasonable steps to defend a client’s reputation . . .

including an attempt to demonstrate in the court of public opinion that the client does not

deserve to be tried.” Gentile 501 U.S. at 1043 (Kennedy, J., joined by Justices Marshall,

Blackmun, and Stevens, concurring). If an attorney can do so, clearly the defendant may

do so as well.

       There was no violation of this Court’s Order, and the Office of Special Counsel

should be held to its word with respect to the agreed-upon bail package. A fair reading of

the Local Criminal Rule establishes that to the extent speech may be restrained, it is not a




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“gag order.” Even a cursory reading of Gentile establishes that a defendant (and his

counsel) do not lose all of their First Amendment rights in a criminal prosecution.

       The Government neglects to discuss the only case cited in this Court’s Order, and

also fails to analyze critically the Order itself. The Opposition is not supported by the

facts or the law, and it certainly cannot form the basis for requiring the additional

conditions of release that the Office of Special Counsel seeks.

       The Bail Reform Act instructs the judicial officer to implement the least

restrictive condition, or combination of conditions, that will reasonably assure the

appearance of the person as required.             See 18 U.S.C. Section 3142(c)(1)(B).

Furthermore, “Section 3142 speaks only of conditions that will ‘reasonably’ assure

appearance, not guarantee it.” United States v. Xulum, 84 F.3d 441, 443 (D.C. Cir. 1996)

(per curiam). The substantial bail package that Mr. Manafort has submitted to Court

satisfies these requirements in full, regardless of whether the Office of Special Counsel

agrees or not. And, in fact, the Office of Special Counsel last week agreed that this bail

package met the requirements of the Bail Reform Act.




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       WHEREFORE, Defendant Manafort moves to modify his current conditions of

release as outlined in his motion filed on November 30, 2017.

Dated: December 7, 2017

                                                   Respectfully submitted,



                                                   ______________________________
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